     Case 3:09-cv-02199-N-BQ Document 43 Filed 05/27/10                  Page 1 of 4 PageID 1035



                           IN THE TINITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

LYNNE TURK, individually and as Trustee,           $
of the Lynne Caponera Revocable Trust              $
GARY and LAURIE SPELLMAN, and                      $
SUSAN BLOLTNT, individually and                    $
on behalf of all others similarly situated,        $
                                                   s
                        Plaintiffs,                $    CrylL ACTION NO.:3:09-cv-02199-B
                                                   $
                                                   $
                                                   $
PERSHING, LLC                                      $
                                                   $
                        Defendants.                $




                     APPLICATION FOR ADMISSION PftO                 ä/Cð    VIC¿'

I.       Applicant is an attorney and a member of the law firm of (or practices under the name of)
         Blackner Stone & Associates. with offices at
         123 Australian Avenue
         Palm Beach. FL 33480
         Telephone (56 l) 659-5754
         Fax (561) 659-3184

II.      Applicant will sign all filings with the name Rick Stone.
         Applicant wants this form to serve as applicant's registration for electronic case frling and
         consent under FED.R.CIV.P. 5(b) to accept service electronically at the following email
         address:
         rstoneesq@aol.com

III.     Applicant has been retained personally or as a member of the above named firm by:

         Lynne Turk" individually and as Trustee of the Lvnne Caponera Revocable Trust. Gary and
         Laurie Spellman. and Susan Blount. individually and on behalf of all others similarly situated

         to provide legal representation in connection with the above-styled matter now pending
         before the United States District Court, for the Northern District of Texas,
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IV.    Applicant is a member in good standing of the bar of the highest court of the State of New
       York, where Applicant regularly practices law,

       Bar license   number: 1929660          Admission date:        June 20" 1984


       Attached to this application an original certifÏcate of good standing issued within the
       past 90 days from a state or the District of Columbia.
V.     Applicant has also been admitted to practice before the following courts:

       Court:                    Admission Date:                     Active or Inactive:
       U.S.D.C, S.D. of New York  March 3" 1995                           Active
       U.S.D.C. E.D. of New York     l 984                                Active

y¡.    Applicant has never involuntarily lost, temporarily or permanently, the right to practice
       before any court or tribunal, or resigned in lieu of discipline, except as provided below:




VII.   Applicant has never been subject       to grievance proceedings or involuntary removal
       proceedings -regardless of outcome- while a member of the bar of any state or federal court
       or tribunal that requires admission to practice, except as provided below:



VUI.   Applicant has not been charged, arrested, or convicted of criminal offense or offenses, except
       as provided below (omit minor traffic offenses):




IX.    Applicant has frled for pro hac vice admission in the United States District Court for the
       Northern District of Texas during the past three (3) years in the following matter:

       Date of Application            Case   No. and Style

       May 12.2010                    3:09-cv-02198. Turk v. Pershing, LLC




X.     Local counsel of record associated with Applicant in this Matter is Applicant requests
                                 without              I oursuant to            10.
                  with the followi                 in this             admitted to
           hern Districl                 M. Hohm                    Taube               LLP 100
                              . 1800 Austin     78701. (512\ 472-           L. Lewis of
       Brothers. I l4 W. Seventh Street" Suite 1100. Austin" TX 78701.  (512) 495-1400
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XI.    Check the appropriate section below.

       For Application in a Civil Case
       E     Applicant has read Dondi Properties Corp. V. Commerce Savs. & Loan Ass'n,l2l F.
             R.D. 284 (N.D. Tex. 1988) (en banc), and the local civil rules of this court and will
             comply with the standards of practice adopted in Dondi and with the local civil rules.

       For Application in a Criminal Case


       tr     Applicant has read and will comply with the local criminal rules of this court,

XII.   Applicant respectfully requests to be admitted to practice in the United States District Court
       for the Northern District of Texas for this cause only. Applicant certifies luhat a true and
       correct copy of this document has been served upon each attorney of record and the original
       upon the clerk of court, accompanied by a $25.00 filling fee, on this the &b duy of May,
       2010.


                                                       Richard L. Stone
                                                      Printed Name of Applicant


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